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Counsel to Plaintiff RDC Liquidating Trust

UNITED STATES BANKRUPTCY COURT
WESTERN DISTRICT OF NEW YORK


 In re:                                                        Chapter 11

 ROCHESTER DRUG CO-OPERATIVE, INC.                             Case No. 20-20230 (PRW)

                              Debtor.



 Advisory Trust Group, LLC, as trustee of the RDC              Adv. Proc. No. 22-02044 (PRW)
 LIQUIDATING TRUST,

                              Plaintiff,
           v.

 CHATTEM, INC.,
                             Defendant.


                STIPULATION OF DISMISSAL OF ADVERSARY PROCEEDING


          Plaintiff Advisory Trust Group, LLC, in its capacity as the Liquidating Trustee of the

RDC Liquidating Trust, and defendant Chattem, Inc. (together, the “Parties”), have entered into

a settlement agreement that resolves the claims asserted in the above-captioned adversary

proceeding. Accordingly, the Parties hereby stipulate, pursuant to Rule 41(a)(1)(A)(ii) of the

Federal Rules of Civil Procedure, made applicable to this adversary proceeding by Rule 7041 of


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the Federal Rules of Bankruptcy Procedure, to the dismissal with prejudice of this adversary

proceeding, with each party to bear its own attorneys’ fees and costs.



  STIPULATED AND AGREED:

  Dated: July 26, 2023                                 Dated: July 26, 2023

  PACHULSKI STANG ZIEHL & JONES LLP                    TROUTMAN PEPPER HAMILTON
                                                       SANDERS LLP


  /s/ Ilan D. Scharf                                   /s/ Evelyn J. Meltzer
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  Counsel to Plaintiff RDC Liquidating Trust


SO ORDERED

DATED: ________________, 2023                        ______________________________
      Rochester, New York                            HON. PAUL R. WARREN
                                                     United States Bankruptcy Judge




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